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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
COUNTY OF SNOHOMISH

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JESSE DUHAMEL, an individual, Case No.

Plaintiff, COMPLAINT FOR DAMAGES

v. (Civil Rights, and Jury Trial Demanded)
STATE OF WASHINGTON;
WASHINGTON DEPARTMENT OF
CORECTIONS; C. SHAW; ADELAIDE
HORNE; P. CHRISTIANSEN; JULIA
BARNETT; LEE STEMLER; KEVIN
BOVENKAKMP and DOES I-X,

Defendants.

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COMES NOW Plaintiff Jesse Duhamel, by and through the undersigned attorney, and for
the causes of action against the above-named Defendants, alleges and avers as follows:
INTRODUCTION
1. Plaintiff Jesse Duhamel is currently an inmate at Monroe Correctional Complex .

in Monroe, Washington. Plaintiff, by and through his undersigned counsel, files this Complaint

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for damages against defendants for violations of his Eighth Amendment rights and Washington
State law. He brings this action due to defendants’ denial of medical treatment, and delay of
medical treatment in violation of Department of Corrections policy and the United States
constitution. Defendants, and each of them, have been deliberately indifferent to the serious
medical needs of plaintiff. As a result, defendants have violated plaintiff's Eighth Amendment
rights and have caused plaintiff to suffer great pain and deprivation of his civil, statutory and
constitutional rights, physical injury as well as mental and emotional distress.
VENUE

2. All of the unlawful acts and practices alleged herein occurred in or near the City
of Monroe in Snohomish County, Washington. Thus, the Snohomish County Superior
Courthouse is the appropriate forum for this matter.

PARTIES

3. Plaintiff Jesse Duhamel is an adult male inmate (Inmate No. 810870), currently
incarcerated at the Monroe Correctional Complex in the Twin Rivers Unit (“TRU”) in Monroe,
Washington.

4. Defendant State of Washington is a public entity which runs the Washington
Department of Corrections.

5. Defendant Washington Department of Corrections (“DOC”) is an agency of the
State of Washington and is a public entity that has complete control over plaintiff because he is
housed in its prison system.

6. Defendant P. Christiansen (first name unknown) was at all times relevant hereto a

Physician’s Assistant at Monroe Correctional Complex TRU.

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7. Defendant Adelaide Horne was at all times relevant hereto a Physician’s Assistant
at Monroe Correctional Complex TRU.

8. Defendant Dr. Julia Barnett was at all times relevant hereto the Facility Medical
Director at Monroe Correctional Complex TRU.

9. Defendant C. Shaw (first name unknown) is and was at all times relevant hereto a
Registered Nurse at Monroe Correctional Complex TRU.

10. Defendant Kevin Bovenkamp is and was at all times relevant hereto the
Department of Corrections Health Services Assistant Secretary.

11. Defendants Does I through X are employees of the State of Washington to be
identified through the discovery process and when the true names and capacities are ascertained,
plaintiff will seek leave to amend.

12. Each defendant is, and at all times herein mentioned was acting under color of
law and was an agent of Washington State Department of Corrections and acting within the
course and scope of that agency in causing the harm as herein alleged.

ADMINISTRATIVE PROCEEDINGS

13. Plaintiff filed a tort claim on August 15, 2019. More than 60 days have passed,
and the State of Washington has not responded. As a matter of law, plaintiff's tort claim has been
rejected. Available administrative remedies have been exhausted.

STATEMENT OF FACTS

14. Prior to plaintiff's denial of medical treatment and subsequent hospitalization on

August 22, 2018, plaintiff suffered from gastrointestinal (GI) bleeding. GI bleeding is

symptomatic of a disorder in the digestive tract where excessive bleeding can be life-threatening.

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15. In June of 2018, Physician’s Assistant P. Christiansen treated plaintiff for chronic
rectal bleeding and abdominal pain. Christiansen ordered blood tests for plaintiff and referred
him to a gastroenterologist for further evaluation on July 5, 2018. Christiansen also scheduled an
August 28, 2018 appointment to follow up with plaintiff. However, the pending GI consult never
occurred and was rescheduled to a later date.

16. On August 21, 2018 at approximately 9 p.m., plaintiff declared a medical
emergency while at the Monroe Correctional Complex, Twin Rivers Unit. Plaintiff informed the
medical staff that he needed swift medical attention because he was expelling copious amounts
of blood. Defendants knew plaintiff had a documented history of ongoing medical issues with his
rectum. However, that night, DOC medical staff, without assessing plaintiff, advised him that
there was nothing wrong and returned him to his cell. |

17. A few hours later at approximately 3 a.m. on August 22, 2018, plaintiff declared a
second medical emergency.

18. _—_ Plaintiff was seen by RN C. Shaw. Shaw dismissed plaintiff without assessing his
condition. For the second time, plaintiff was advised that there was nothing wrong and returned
to his cell.

19. On August 22, 2018, at approximately 6:30 a.m., plaintiff declared his third
medical emergency in under 10 hours.

20. All three of plaintiff's medical emergencies resulted from the severe pain in
plaintiffs rectum which was bleeding non-stop since the previous night when he declared his
first medical emergency. Plaintiff's colon had profuse amounts of dark red blood expelling out of
it and excruciating pain in his bowls. Seeing his own blood dripping on the ground, plaintiff

sought medical attention.

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21. Though plaintiff had made 3 attempts—all within a 10-hour period—DOC staff
deliberately disregarded his critical need for care.

22. During plaintiff's third medical emergency at approximately 7 a.m., he was seen
by PA-C Horne. Horne instructed plaintiff to provide a stool sample. Plaintiff stool sample
returned full of blood. Plaintiff's blood was also dripping on the floor of the medical unit. After
witnessing the bloodied floor and also drawing plaintiff's blood, Horne advised plaintiff that
there was nothing wrong.

23. Though plaintiff had provided a stool sample filled with blood, Horne returned
plaintiff to his cell for the third time.

24. About ten minutes later, plaintiff fell to the ground and passed out in his cell.

25. Corrections officers later found plaintiff completely unresponsive lying in a pool
of blood.

26. | DOC immediately called an ambulance and rushed plaintiff to the emergency
room. Plaintiff was hospitalized for over a week at Evergreen Health Medical Center. The doctor
determined that plaintiffs colon was abnormally bleeding and advised that plaintiff should have
received medical attention sooner.

27. In their responses to plaintiff's grievances, Grievance Coordinator Lee Stemler
and Assistant Secretary Kevin Bovenckamp acknowledged that the DOC medical staff acted
improperly. In his October 4, 2018, response to plaintiff's grievance, Stemler admits that because
DOC medical failed to act quickly, they caused plaintiff to suffer a very emergent medical
complication and unnecessary pain.

28. Prior to plaintiff's medical emergencies on August 21 and August 22, 2018,

plaintiff had an ongoing chronic condition that had been followed closely by TRU providers. The

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DOC, per the October 4, 2019 grievance response, admits that initially, plaintiff was supposed to
have routine follow ups every 2 months but as plaintiff's symptoms worsened, medical staff
failed to update this consult to urgent status. The DOC has further acknowledged that based on
the frequency and the copious amount of plaintiff's bloody stools, plaintiff should have been
treated and transferred to the Inpatient Unit at the Washington State Reformatory.

29. Plaintiff was aware that his condition could lead to his death. After being denied
medical assistance, plaintiff feared that he would be seriously injured and that it could potentially
lead to his death. Defendants’ willful acts caused panic, terror, fear, pain and distress in the hours
leading to plaintiffs hospitalization.

30. Defendants acted with deliberate indifference. As a direct result, defendants’
actions caused plaintiff to become unconscious and undergo hospitalization and to suffer
physical pain and emotional anguish.

FIRST CAUSE OF ACTION
(42 U.S.C. § 1983 — Eighth Amendment — Cruel and Unusual Punishment- individual
defendants)

31. Plaintiff realleges and incorporates by reference herein paragraphs 1 through 30
with the same force and effect as if such paragraphs were separately realleged in this First Cause
of Action.

32. The Eighth Amendment protects inmates against infliction of “cruel and unusual
punishment.” Defendants violated the Eighth Amendment by acting with deliberate indifference
to the serious medical needs of the plaintiff.

33.  Atall times material hereto, defendants jointly and severally had a duty under the

Eighth Amendment of the U.S. Constitution to not be deliberately indifferent to the known

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serious medical needs of detainees at the Washington Department of Corrections (“DOC”). This

duty arose from the individual defendant’s capacity as agents or employees of the DOC. Because
defendants had a non-delegable duty to provide medical services to the plaintiff, the DOC and its
agents and employees acted under the color of law while providing these services.

34. Defendants failed to provide adequate medical care for plaintiff contrary to
medical records showing his need for timely treatment. Despite defendants’ knowledge of this
need, each individual defendant intentionally, or through the exercise of deliberate indifference,
failed or refused to provide plaintiff with the proper medical care and attention known to be
necessary under plaintiff's circumstances.

35. | Asadirect and proximate result of the actions and omissions of the defendants as
described above, plaintiff has suffered chronic pain, loss of his liberty, and aggravation of his
pre-existing medical conditions. He has been deprived of freedoms that are enjoyed by other
inmates. The full extent of his injuries will be proven at trial.

36. The actions of the individual defendants, as described in this complaint, were
deliberately indifferent to the serious medical needs of plaintiff and done in conscious disregard
of the harm that would be inflicted upon plaintiff.

SECOND CAUSE OF ACTION

(Disability Discrimination - ADA 42 U.S.C. § 12131 and Rehabilitation Act of 1973 - State of
Washington and Agency defendants)

37. Plaintiff realleges and incorporates by reference herein paragraphs 1 through 36
with the same force and effect as if such paragraphs were separately realleged in this Second
Cause of Action.

38. Title II of the ADA provides that “[n]o qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the benefits of the

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services, programs, or activities of a public entity, or be subjected to discrimination by any such
entity.” 42 U.S.C. § 12131.

39. Defendant has received federal monies and is thus covered by § 504’s mandate,
which requires recipients of federal monies to reasonably accommodate persons with disabilities
in their facilities, program activities, and services, and reasonably modify such facilities,
services, and programs to accomplish this purpose.

40. Washington State is a public entity within the meaning of Title II of the ADA and
provides programs, services, or activities to the general public. Title II of the ADA has
essentially the same mandate as Section 504.

41. At all times relevant to this action, plaintiff was a qualified individual within the
meaning of Title II of the ADA and met the essential eligibility requirements for the receipt of
the services, programs, or activities of Washington State as well as the prohibitions of
discrimination. Specifically, plaintiff suffered from mental disabilities including schizoaffective
disorder and anxiety that “substantially limits one or more major life activities,” including but
not limited to “learning, reading, concentrating, thinking, communicating, and working.” 42
USS.C. § 12102.

42. Defendant is aware of plaintiffs mental disabilities and plaintiff informed
defendants of his injuries and repeatedly communicated to defendants his serious medical needs
regarding his injuries. Washington State knew plaintiff suffered from mental illness, and as a
result, overlooked plaintiff's request for medical treatment.

43. The State of Washington was deliberately indifferent in failing to provide plaintiff
with adequate medical care and denied him the rights and benefits accorded to other inmates, by

reason of his mental disabilities in violation of due process and the ADA and Rehabilitation Act.

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44. The State of Washington failed to train and supervise the prison personnel to
provide necessary accommodations, modifications, services, and/or physical access to inmates
with mental or developmental disabilities

45. Defendant could have easily directed medical staff to respond to plaintiff's
injuries.

46. Asa proximate result of defendant’s discriminatory actions against plaintiff, as
alleged above, plaintiff has been emotionally harmed in that plaintiff has suffered humiliation,
mental anguish, anxiety, mortification, loss of good health and emotional and physical distress,
and has been injured in mind and body in an amount according to proof at trial.

THIRD CAUSE OF ACTION
(Negligence - all defendants)

47. Plaintiff realleges and incorporates by reference herein paragraphs 1 through 46
with the same force and effect as if such paragraphs were separately realleged in this Third
Cause of Action.

48. Plaintiff is an inmate under the supervision of the Department of Correction and
thus, each aspect of his medical care is under the authority of the DOC.

49. Defendants were at all times charged with the care of plaintiff's medical needs.
Defendants breached their duty of care to plaintiff and acted in conscious disregard of the harm
that would be inflicted upon plaintiff when they failed to provide the medical care his condition
warranted.

50. Defendant Washington State Department of Corrections and its individual

officers, in committing all the aforementioned wrongs, breached their duty to plaintiff to exercise

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reasonable care in the performance of their official duties, and thereby proximately and
foreseeably caused plaintiffs civil rights violation.

51. | Asadirect and proximate result of the actions and omissions of the defendants as
described above, plaintiff has suffered chronic pain, loss of his liberty, and aggravation of his
pre-existing medical conditions. He has been deprived of freedoms that are enjoyed by other
inmates. The full extent of his injuries will be proven at trial.

FOURTH CAUSE OF ACTION
(Intentional Infliction of Emotional Distress — all defendants)

52. Plaintiff realleges and incorporates by reference herein paragraphs 1 through 51
with the same force and effect as if such paragraphs were separately realleged in this Fourth
Cause of Action.

53. Defendants had direct knowledge of plaintiffs history with GI bleeding and
intentionally inflicted emotional distress upon plaintiff by refusing to treat plaintiff's emergent
and serious medical needs. |

54. After Defendants were first informed of plaintiff's profusely bleeding rectum,
they allowed it to continue for over ten hours until plaintiff passed out in his cell and became
hospitalized for over a week. Plaintiff filed a total of three medical emergencies with the
knowledge that his condition warranted serious medical attention and if untreated, could become
life-threatening. Defendants intentionally ignored the medical needs of plaintiff acting in a
manner that would bring incredible mental frustrations and fears to plaintiff. As a result of
Defendant’s actions, plaintiff suffered from excruciating pain, emotional distress,

embarrassment, panic and mental anguish.

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55. Asa direct and proximate result of the actions and omissions of the defendants as
described above, plaintiff has suffered chronic pain, loss of his liberty, and aggravation of his
pre-existing medical conditions. He has been deprived of freedoms that are enjoyed by other
inmates. The full extent of his injuries will be proven at trial.

PRAYER

WHEREFORE, plaintiff prays for the following relief against defendants:

A. For general and special compensatory damages and against all defendants according
to proof at trial;

For a jury trial on all issues triable by jury;

For reasonable attorney fees according to law or statute;

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For costs of suit incurred herein; and

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For such other and further relief as the Court may deem just.

Dated this 30" day of December, 2019, at Seattle, Washington.

CIVIL RIGHTS JUSTICE CENTER PLLC

Keble k

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